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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

In the matter of the Search of
1999 gray Honda CR-V, .
bearing Massachusetts license plate number 316ES9 { 8 ~PMY~ dda “IBD

 

The United States Attorney hereby respectfully moves the Court to seal the search warrant,
supporting affidavit, this motion and all related documents (except for a copy of the warrant to be
served at the location to be searched), until further order of this Court, As grounds for this motion,
the government states that public disclosure of these materials might jeopardize the ongoing

investigation of this case, as well as the government’s ability to effectuate the search without

interference or the destruction of property sought by this warrant.
Respectfully submitted,

"E19G ‘g TWHE

 

: Date: June 3, 2013

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AO 106 (Rov. 04/10) Application for a Scarch Warrent
——— ae : Se ena aremt bariatric
UNITED STATES DISTRICT COURT pe
for tho
District of Massachusetts
In the Matter of the Search of
(8rlefly describe the property lo bs searched .
Bo ae those Lo cogs andl lies Case No. (3 -MJ- wWd4- MBG
4999 gray Honda CR-V, bearing Massachusetts license
plate number 316ES9

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person ar describe the
property {o ba searched and give its location):

1999 gray Honda CR-V, bearing Massachusetts cense plate number 316ES9, as described In Atlachment A

located in the District of Massachusetts , there is now concealed (identfp uke

Porson or describe the property to be solxad}!
eevidence, fruits and instrumentelities of violations of 48 U.S.C, §1961 (Robbery Affecting {nterstate Commercs), 18

U.S.C, §1519 (Obstruction of Justice), 18 U.S.C. § 924(c) (Use of a Firaarm during a crime of viclenca), 18 U.S.C.
§1001 (Providing False Material information), end 371 (Conspiracy to Commit Offenses), as descatbed In Atlachment B

The basis for the search under Fed. R. Crim. P. 41(¢) is (check ane or more):
& evidence of a crime;
wf contraband, frults of crime, or other items illegally possessed;
we property designed for use, intended for use, or used in committing a crimes
0 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

 

Code Section Offense Description
18 U.S.C. §§1951, 1519, 924  Rabbery Affecting Interstate Commerce, Obstruction of Justice,
(e) 1001, 374 Use of a Firearm during a crime of viclence, Providing False Material Information
Consptracy to Commit Offenses

The application is based on these facts: ou caed Affidavit of Speclal Agent Steven A. Kimball

of Continued on the attached sheet,
(1 Delayed natice of days (give exact ending date {f more than 30 days: } is requested
under 18 U.S.C. § 31032, the basis of which Is set forth on the ultached sheet.

Swom to before me and signed in my presence,

Date: 06/93/2013

“City alid state: Bdstef, Massdchuselts |

 

 

Printed name and tlle

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IS-AT- DAY - MBE.

AFFIDAVIT OF SPECIAL AGENT

1 a being duly sworn, depose and state:

 

 

 

 

3, I am currently participating in the fives ection of the two explosions that
occurred on Apri] 15, 2013 in Boston during the Boston Marathon and a subsequent carjacking
and shootout that occurred on April 18-19, 2013 in Cambridge and Watertown, Massachusetts, I
believe that the same individuals, Tamerlan Tsarnacy (“Tamerlan”) and his brother Dzhokhar
Tsarnaev (“Dzhokhar”), were involved in the Marathon bombing, the carjacking, and the
shootout, This affidavit is submitted in support of a second search warrant for a 1999 gray

Honda CR-V, bearing Massachusetts license plate number 316ES9 (“the ‘Target Vehicle”), as

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more particularly described in Attachment A hereto, which is.incorporated herein by reference,!
As set forth below, the Target Vehicle is the vehicle of Tamerlan and Dzhokhar. This requested
second search warrant seeks a limited search of the Target Vehicle to seize blood, DNA, trace
evidence and other items, all of which are more fully described below, that may have been
transferred to or from the vehicle by Tamerlan or Ibragim Todashev (“Todashev”), one of his
associates, after a triple murder that occurred in Waltham, Massachusetts in September 2011. I
have probable cause to believe these additional items may be evidence of the commission of
criminal offenses, in violation of 18 U.S.C. §§ 1951 (Robbery Affecting Interstate Commerce),

924(c) (Use of a Firearm During a Crime of Violence), 1519 (Obstruction of Justice) and 371

(Conspiracy to Commit Offenses).

 

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ii, 201] Waltham Murders

38. On the evening of September 11, 2011, three young men were killed ata

residence at 12 Harding Avenue, Waltham, Massachusetts, One of the victims, Brendan Mess,
Russell described as Tamerlan’s very close friend. The murders were particularly grisly: the
victims were bound, beaten, and had their throats cut. In addition, the victims were covered with
resjuetn, EEG ee ey ones) eae

39. On May 21, 2013, as referenced above, law enforcement agents interviewed
Todashev, Todashev confessed that he and Tamerlan participated in the Waltham murders. He
said that he and Tamerlan had agreed initially just to rob the victims, whom they knew to be drug
dealers who sold marijuana. ‘Todashev said that he and Tamerlan took several thousand dollars
from the residence and split the money. Todashev said that Tamerlan had a gun, which he
brandished to enter the residence. Tamerlan decided that they should eliminate any witnesses to
the crime, and then Todashey and Tamerlan bound the victims, who were ultimately murdered,

Todashev went on to say that after the murders, Tamerlan and Todashev tried to clean the crime

    
 

scene in order to remove traces of their fingerprints and other identifying details,

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9 Todashey said that they spent over an hour

cleaning the scene. Todashev said that Tamerlan had picked Todashev up in the Target Vehicle

and they traveled to the scene of the Waltham murders together, After the robbery and murder,

they left the scene in the Target Vehicle.

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The location to be searched is a 1999 gray Honda CR-V, bearing Massachusetts
license plate number 316ES9, The vehicle bas been previously searched by the FBI, and was
seized from across the street from 410 Norfolk Street, Apartment 3, Cambridge, Massachusetts,
the residence of Tamerlan and Dzhokhar Tsarnaev.

SAdd.36 DT-O0000591

 
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ATTACHMENT B
MS TO BE SEIZED

Evidence, in whatever form inside or on the Target Vehicle, related to violations of 18
U.S.C, §1951 (Robbery Affecting Interstate Commerce), 18 U.S.C, §1519 (Obstruction of
Justice), 18 U.S.C, § 924(c) (Use of a Firearm during a crime of violence), 18 U.S.C, §1001
(Providing False Material Information), and 371 (Conspiracy to Commit Offenses), in
connection with the robbery and triple murder in Waltham, Massachusetts in 2011, including:

 

1. Blood, tissue, DNA, hair and bodily fluids samples;
2. Fibers and portions of surfaces containing fibers;

3. Swatches of carpet, upholstery, fabric, wood, plastic metal and any other surface or
under-surface anywhere on or in the vehicle;

4, Any absorbent substrate or materials;

5. Property, records, or information related to the September 2011 Waltham triple
homicide;

6. Property, records, or information related to the state of mind and/or motive of
Tamerlan Tsarnaey or Ibragim .Todashev or others to undertake the September 2011 Waltham’
triple homicide;

7. Property, records, or other information related to contacts between Ibragim Todashev
and Tamerlan Tsarnaev or Dzhokhar Tsamaev or other co-conspirators;

8. Property, records, or other information, related to travel of the vehicle or Tamerlan
Tsarnaey or lbragim Todashev in September 2011;

9. Property, records, or information related to any bank records, checks, credit card bills,
account information, and other financial records;

 

12, Chemical and physical testing of the vehicle.

SAdd.37 DT-0000592

 
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13, Evidence of property, records, or information related to the victims of the September
2011 Waltham triple homicide, Brendan Mess, Erik Weissman, or Raphael Teken, or related io
Tamerlan or Dzhokhar, or an as yet-unidentified co-conspirator;

14, Property, records, or other information related to martial arts, combat, or fighting;

   
 

16, Evidence not previously seized, evidencing a relationship between the 201] Waltham
triple homicide and the 2013 Boston Marathon bombings.

SAdd.38 DT-0000593

 
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AOD9S (Rov. 12/09) Search astd Seizure Wertnnt

 

a — et,
UNITED STATES DISTRICT COURT
for the
District of Massachusetts

in the Matter of the Search of }
(Briefly describe the property to be searched )

or identify the person by name and address) ) Case No, (8 -fiv- aay - MEG
1899 gray Honda CR-V, bearing Massachuselts license ;
plate number 316ES9 }

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search

of the following person or property located in the District of Magsachusetls
fedlomtify the person or describe the property to be searched and give tts location):

1999 gray Honda CR-V, beering Massachusetts license plata number $16ES89, as desorbed in Ailachmant A
The pereon or property to be searched, described above, Is belleved to conceal (identify the person or describs the

Feudence, Mts ond instrumentailtfes of violations of 18 U.S.C, §1851 (Robbery Affecting Interstate Commerce), 18
U.S.C. §1519 (Obstruction of Justica), 18 U.S.C, § 924(c} (Use of a Firearm during a crime of vistence), 18 U.S.C.
§1001 (Providing False Material Information), and 371 (Conspiracy to Commit Offenses), as desoribed in Attachment B

" [find that the affidavit(s), or any recorded testimony, establish probable cause to search and selze the person or
property.

 

YOU ARE COMMANDED to exccute this warrant on or before June 17,201
{rot fo exceed 14 days)
& in the daytime 6:00 a.m. to 10 p.m. f at any time in the day or night as ] find reasonable cause has been
established,

Untess delayed notice Is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the properly was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
Inventory as required by law and promptly return this warrant and Inventory to United States Magistrate Judge
Marianne B. Bowler

(name)

 
  

of trial), and authorize the officer executing thls warrant to delay notice to ¢! Ads rs

  
 
 

    
 
 
 

 

     
 
   

 

searched or seized (check te appropriate box) (J for Gays rot 10 axfy ; on AM LPs
© until, he facts justifying, ihe jaicr!spedttl _
a Fh et ?
Dute and time issued; 08/03/2013 0:00 ang OS Us Or
ow NS Fete elpr °
City and state: Boston, Magsechusetts Hon, Maria vekntaanen: 8. Magistrate Judge
Printed none and title

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AO 93 (Rev, 12/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and tima warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of:

 

Inventory of the property taken and name of any person(s) selzea:

 

 

 

Certificatio

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original
warrant to the designated judge.

 

Date: i . _.
Executing officer's signature

 

 

Printed nants and title

 

 

 

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ATTACHMENT A
PREMISES TO BE SEARCHED

The Jucation to be searched is a 1999 gray Honda CR-V, bearing Massachusetts
license plate number 316ES9. The vehicle has been previously searched by the FBI, and was
seized from across the street from 410 Norfolk Street, Apartment 3, Cambridge, Massachusetts,
the residence of Tamerlan and Dzhokhar Tsarnaev.

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ATTACHMENT B

ITEMS TO BE SEIZED

Evidence, in whatever form inside or on the Target Vehicle, related to violations of 18
U.S.C, §1951 (Robbery Affecting Interstate Commerce), 18 U.S.C. §1519 (Obstruction of
Justice), 18 U.S.C. § 924(c) (Use of a Firearm during a crime of violence), 18 U.S.C, §1001
(Providing False Material Information), and 371 (Conspiracy to Commit Offenses), in
connection with the robbery and triple murder in Waltham, Massachusetts in 2011, including:

 

1, Blood, tissue, DNA, hair and bodily fluids samples;
2. Fibers and portions of surfaces containing fibers;

3, Swatches of carpet, upholstery, fabric, wood, plastic metal and any other surface or
under-surface anywhere on or in the vehicle;

4, Any absorbent substrate or materials;

5, Property, records, or information related to the September 2011 Waltham triple
homicide;

6. Property, records, or information related to the state of mind and/or motive of
Tamerlan Tsarnaey, or Ibragim Todashey or otlters to undertake the September 2011 Waltham
triple homicide; ,

7. Property, records, or other information related to contacts between Ibragim Todashev
and Tamerlan Tsamaev or Dzhokhar Tsarnaev or other co-conspirators;

8. Property, records, or other information, related to travel of the vehicle or Tamerlan
Tsamaev or Ibragim Todashev in September 2011;

9, Property, records, or information related to any bank records, checks, credit card bills,
account information, and other financial records;

 

12, Chemical and physical testing of the vehicle,

snide DT-0000597

 
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13. Evidence of property, records, or information related to the victims of the September
2011 Waltham triple homicide, Brendan Mess, Erik Weissman, or Raphael Teken, or related to
Tamerlan or Dzhokhar, or an as yet-unidentified co-conspirator;

14. Property, records, or other information related to martial arts, combat, or fighting;

 

16, Evidence not previously seized, evidencing a relationship between the 2011 Waltham
triple homicide and the 2013 Boston Marathon bombings,

SAdd.43 DT-0000598

 
